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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


REED SMITH LLP
225 Fifth Avenue
Pittsburgh, PA 15222,

                        Plaintiff,

       v.                                                    Civil Action No. 21-2387

FOOD AND DRUG ADMINISTRATION
10903 New Hampshire Avenue
Silver Spring, MD 20993,

                        Defendant.


                          COMPLAINT FOR INJUNCTIVE RELIEF

       Plaintiff Reed Smith LLP brings this action seeking disclosure of wrongfully withheld

agency records pursuant to the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, and alleges

as follows:

                                     JURISDICTION AND VENUE

       1.      This Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B) and

28 U.S.C. § 1331.

       2.      Venue lies in this district under 5 U.S.C. § 552(a)(4)(B).

                                            PARTIES

       3.      Plaintiff Reed Smith LLP (“Reed Smith”), which submitted the FOIA request at

issue here, is a limited liability partnership organized under the laws of the State of Delaware.

Reed Smith’s principal business address is 225 Fifth Avenue, Pittsburgh, Pennsylvania 15222.

       4.      Defendant Food and Drug Administration (“FDA”), which received the FOIA

request at issue here, is an agency within the Department of Health and Human Services. FDA is
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an “agency” within the meaning of 5 U.S.C. §§ 551(1) and 701(b)(1). FDA’s principal business

address is 10903 New Hampshire Avenue, Silver Spring, Maryland 20993.

                                   STATEMENT OF FACTS

       5.      On July 28, 2021, Reed Smith submitted a FOIA request to FDA requesting agency

records. Specifically, the FOIA request sought: (1) all communications between FDA (including,

but not limited to, FDA’s Center for Drug Evaluation and Research) and the Pharmacy

Compounding Advisory Committee, within a specific timeframe, regarding the following subjects:

(a) nicotinamide adenine dinucleotide, or (b) the criteria used to determine whether a bulk drug

substance should appear on the list established pursuant to section 503A(b)(1)(A)(i)(III) of the

Federal Food, Drug, and Cosmetic Act, including, but not limited to, any criteria not reflected in a

codified regulation; and (2) all communications between FDA (including, but not limited to,

FDA’s Center for Drug Evaluation and Research) and persons or entities receiving federal grant

funding (including, but not limited to, the University of Maryland Center of Excellence in

Regulatory Science and Innovation), within a specific timeframe, regarding nicotinamide adenine

dinucleotide. A true and correct copy of the FOIA request and FDA FOIA Request Confirmation

provided by FDA’s online access portal is attached as Exhibit A.

       6.      FDA confirmed receipt of the FOIA request via e-mail on July 28, 2021. A true and

correct copy of FDA’s July 28 e-mail is attached as Exhibit B.

       7.      On August 9, 2021, FDA advised Reed Smith via e-mail and an attached

acknowledgement letter that FDA had assigned the FOIA request a control number. FDA asserted

in the acknowledgement letter that “[d]ue to an increase in the number of incoming requests, we

may be unable to comply with the twenty-working-day time limit in this case, as well as the ten

additional days provided by the FOIA.” FDA provided no date upon which it intended to respond




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to the FOIA request. A true and correct copy of FDA’s August 9 e-mail and the acknowledgement

letter attached thereto is attached as Exhibit C.

       8.      In-house counsel for FDA has since advised Reed Smith via telephone that it will

take approximately two years for FDA to respond to the FOIA request.

       9.      FOIA provides that an agency must “determine within 20 days (excepting

Saturdays, Sundays, and legal public holidays) after the receipt of [a FOIA] request whether to

comply with such request and shall immediately notify the person making such request of . . . such

determination and the reasons therefor.” 5 U.S.C. § 552(a)(6)(A)(i). The 20-day period “shall

commence on the date on which the request is first received by the appropriate component of the

agency, but in any event not later than ten days after the request is first received by any component

of the agency that is designated in the agency’s regulations . . . to receive” FOIA requests. Id.

§ 552(a)(6)(A). “In unusual circumstances . . . the time limits . . . may be extended by written

notice to the person making such request setting forth the unusual circumstances for such extension

and the date on which a determination is expected to be dispatched.” Id. § 552(a)(6)(B)(i). “No

such notice shall specify a date that would result in an extension for more than ten working days”

except in certain circumstances not relevant here. Id.

       10.     FDA received the FOIA request on July 28, 2021. Even allowing for an additional

ten days in order for the request to be provided to the appropriate FDA component, the time limit

for FDA to determine whether to comply with the FOIA request expired on September 9, 2021.

At no time did FDA provide any information supporting an extension of that time limit due to

unusual circumstances or provide a date certain on which a determination is expected to be issued.

       11.     To date, Reed Smith has not received a determination from FDA as to whether FDA

will comply with the FOIA request.




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                                         CAUSE OF ACTION

Violation of the Freedom of Information Act for Improper Withholding of Agency Records

           12.     Reed Smith repeats and realleges paragraphs 1–11.

           13.     The documents requested by the FOIA request constitute “agency records” subject

to mandatory disclosure under FOIA.

           14.     FDA has improperly withheld the requested agency records in violation of 5 U.S.C.

§ 552(a)(3)(A).

           15.     Reed Smith has constructively exhausted its administrative remedies pursuant to 5

U.S.C. § 552(a)(6)(C)(i).

                                       REQUEST FOR RELIEF

           WHEREFORE, Reed Smith requests that the Court:

           A.      Order FDA to produce all agency records responsive to the FOIA request by a date

certain;

           B.      Award Reed Smith its costs and reasonable attorney’s fees incurred in this action

pursuant to 5 U.S.C. § 552(a)(4)(E); and

           C.      Grant such other relief as the Court deems just and proper.

                                        [Signature Page Follows]




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Dated: September 10, 2021               Respectfully submitted,

                                        REED SMITH LLP


                                    By: /s/ James F. Segroves
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